Case 2:19-cr-00197-WBV-KWR Document 295-1 Filed 05/09/22 Page 1 of 2




                   EXHIBIT A
                     Case 2:19-cr-00197-WBV-KWR Document 295-1 Filed 05/09/22 Page 2 of 2
Archived: Tuesday, April 19, 2022 11:32:23 AM
From: Michaels, Steven (CRM)
Sent: Friday, April 8, 2022 5:26:11 PM
To: Scott R. Grubman; Melissa L. Jampol
Cc: ahamrick@caci.com; patricia.udhnani@caci.com; Seifert, Michael (CRM); Jeffrey Mongiello
Subject: United States v. Trotta, No. 21-CR-60260 (S.D. Fla.) [Proposed Meet and Confer] [Communication to Counsel for Mr. Satary and Labs]
Sensitivity: Normal
Attachments:
PRTPPM - Satary (Priv Asserted) - Filter Index.xlsx ;PRTPPM - Labs (Priv Asserted) - Filter Index.xlsx ;Hanley - Satary Privilege Log .xlsx ;Labs - Privileged
(PPM).xlsx ;GNOS - Privileged (PPM).xlsx ;




                                                                     *** EXTERNAL EMAIL ***



Dear Scott and Melissa:

I am writing in connection with the meet-and-confer with defense counsel in United States v. Trotta.

In that regard, please see the attached, marked as (1) “PRTPPM – Satary (Priv Asserted) – Filter Index.xlsx” and (2) “PRTPPM – Labs (Priv Asserted) –
Filter.Index.xlsx.”

I understand that these are the versions of the privilege log data previously received from Mr. Leach (i.e., “Hanley – Satary Privilege Log.xlsx”) and
Melissa (i.e., (1) “Labs – Privileged (PPM).xlsx)” and (2) “GNOS – Privileged (PPM).xlsx”)), copies also attached, but modified to remove the data
rows pertaining to documents that were outside the date range of the as-applicable search warrants. The Filter Team does not intend to produce
documents that are outside of the date range scope.

Please advise if you would like us to send the modified logs to Ms. Trotta's counsel or the original logs as sent by Mr. Leach and Melissa to the Filter
Team.

Best regards,

/s/ Steven S. Michaels
Steven S. Michaels
Trial Attorney, Special Matters Unit
Criminal Division, Fraud Section
U.S. Department of Justice
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